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                                                                                2017 Jun-16 PM 02:45
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

ALBOLGHASSEM                                  )
MOHAMMAADIPOUR AND                            )
FARAHNAZ (SARAH)                              )
MOHAMMAADIPOUR                                )
                                              ) CIVIL ACTION NO.
             Plaintiffs,
                                              )
v.                                            )
                                              )
LIBERTY MUTUAL FIRE                           )
INSURANCE COMPANY                             )
             Defendant.

                               NOTICE OF REMOVAL

         Defendant Liberty Mutual Fire Insurance Company (“Liberty”), by and

through its counsel and pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, hereby

files this Notice of Removal, removing this civil action from the Circuit Court of

Jefferson County, Alabama to the United States District Court for the Northern

District of Alabama, Southern Division. This action is removable pursuant to 28

U.S.C. § 1332 in that there is complete diversity of citizenship between Plaintiffs

and Liberty and the amount in controversy exceeds the sum of $75,000.00,

exclusive of interest and costs. In support of its Notice of Removal, Liberty states

as follows:




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                            PROCEDURAL BACKGROUND

         1.      On    or   about    May     12,    2017,    Plaintiffs   Albolghassem

Mohammaadipour and Farahnaz Mohammaadipour (“Plaintiffs”) filed a Complaint

in the Circuit Court of Jefferson County, Alabama, in the civil action styled

Albolghassem Mohammaadipour et al. v. Liberty Mutual Fire Insurance Company,

01-CV-2017-901967. True and correct copies of all process, pleadings, and orders

as reflected on Alacourt are attached hereto as Exhibit A.

         2.      Plaintiffs’ Complaint asserts claims for breach of contract, bad faith,

intentional infliction of emotional distress/tort of outrage, and fraud arising out of a

claim Plaintiffs submitted for homeowner’s insurance coverage under policy no.

H32-251-659871-00 issued by Liberty (the “Policy”). See Exhibit 1 to the

Declaration of Willeva Meuse, attached hereto as Exhibit B (hereinafter the

“Meuse Decl.”). Plaintiffs seek recovery of compensatory damages (including

mental anguish/emotional distress damages), and punitive damages. See generally

Complaint (“Compl.”).

         3.      Liberty was served with the Summons and Complaint on May 19,

2017. Therefore, this Notice of Removal has been timely filed pursuant to 28

U.S.C. § 1446(b).




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                            DIVERSITY OF CITIZENSHIP

         4.      Upon information and belief, Albolghassem Mohammaadipour is a

resident and citizen of the state of Alabama. See Compl. at ¶ 1.

         5.      Upon information and belief, Farahnaz Mohammaadipour is a resident

and citizen of the state of California. See id.

         6.      Liberty is a corporation organized and existing under the laws of

Wisconsin with its principal place of business in Massachusetts.

         7.      Consequently, based on the face of the Complaint, there is complete

diversity of citizenship between Plaintiffs and Liberty.

                            AMOUNT IN CONTROVERSY

         8.      In addition to establishing diversity of citizenship amongst the parties,

the removing party must also prove that “the matter in controversy exceeds the

sum or value of $75,000, exclusive of interest and costs . . .” See 28 U.S.C.

1332(a)(1).

         9.      Under section 1446(c)(2), a defendant need only prove by a

preponderance of the evidence that the amount in controversy exceeds $75,000,

even when a “state court complaint explicitly seeks an amount of damages less

than the jurisdictional amount.” Harris v. Aghababei, 81 F. Supp. 3d 1278, 1281

(M.D. Ala. 2015) (citing Dart Cherokee Basin Operating Co., LLC v. Owens, 135

S. Ct. 547, 553 (2014)). The preponderance of the evidence standard is appropriate,



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even when a Complaint specifies damages, because Alabama permits “recovery of

damages exceeding the amount claim in the ad damnum clause.” Id. (citing Ala. R.

Civ. P. 54(c)).

         10.     Here, Plaintiffs seek $75,000.00, exclusive of interest and costs in the

ad damnum clause of the Complaint. Thus, if the preponderance of the evidence

demonstrates that even one cent is in controversy over Plaintiffs’ request, the

amount in controversy is met.

         11.     Liberty denies the allegations of Plaintiffs’ Complaint and denies that

it is liable for any damages to Plaintiffs. Nonetheless, in evaluating whether

diversity jurisdiction exists for the purposes of removal, the Court need only look

to what amount is “in controversy.” See 28 U.S.C. § 1332. Here, judicial

experience and common sense dictate that the amount in controversy put forth in

Plaintiffs’ complaint well exceeds $75,000.00.

         12.     Plaintiffs’ claims arise out of an incident where his mortgage

company foreclosed on his home and his personal belongings were allegedly

damaged and/or stolen when they were removed from his home. See Compl., at ¶¶

8-12. In connection with the loss, Plaintiffs submitted a Proof of Loss to Liberty

listing each item they were claiming had been damaged and/or stolen and for

which they were seeking coverage. See Meuse Decl., at ¶ 6. In the Proof of Loss,

Plaintiffs seek coverage for roughly $178,954.38 in losses. In addition, the Policy



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has coverage limits for Personal Property with Replacement Cost of $193,730.00.

See Policy, at p. 1. Accordingly, Plaintiffs allegations for bring roughly $178,000

into controversy, which alone well in excess of the jurisdictional threshold.

         13.     In addition, Plaintiffs seek mental anguish and emotional distress

damages. Courts in the Eleventh Circuit have routinely considered a plaintiff’s

claims for mental anguish or emotional distress in determining the amount in

controversy. See Butler v. Charter Communications, Inc., 755 F. Supp. 2d 1192,

1196 (M.D. Ala. 2010) (“[T]he specific facts alleged by Defendants, and supported

by the attachments to the Notice of Removal and opposition to remand, along with

requests for additional damages for emotional distress and punitive damages,

specifically establish the amount in controversy exceeds $75,000.00, exclusive of

interests and costs.”); Barnes v. Jetblue Airways Corp., 2007 WL 1362504, at *2

(S.D. Fla. May 7, 2007) (denying plaintiff’s motion to remand, the court agreed

that, “[t]hough difficult to quantify, such an award of [emotional distress] damages

could easily match the amount of…[compensatory] damages,” thus exceeding the

jurisdictional requirement).

         14.     Finally, a demand for punitive damages must also, of course, be

included in the determination of the amount in controversy. Bell v. Preferred Life

Assurance Soc’y, 320 U.S. 238, 240 (1943) (claims for compensatory and punitive

damages should be aggregated to determine amount in controversy); Holley Equip



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Co. v. Credit Alliance Corp., 821 F. 2d 1531, 1535 (11th Cir. 1987) (“When

determining the jurisdictional amount in diversity cases, punitive damages must be

considered”) (internal citations omitted); see also South Dallas Water Authority v.

Guarantee Co. of North America, USA, 767 F. Supp. 2d 1284, 1303 and n. 21

(S.D. Ala. 2011) (holding that the defendant could have “marshaled enough

evidence of the jurisdictional facts to support a notice of removal” . . . “when one

considers plaintiff's demand for compensatory and punitive damages”); Blackwell

v. Great American Financial Resources, Inc., 620 F. Supp. 2d 1289, 1290 (N.D.

Ala. 2009) (“[I]n determining the jurisdictional amount in controversy in diversity

cases, punitive damages must be considered…”) (internal citations omitted).

         15.     In ascertaining the amount in controversy in light of a plaintiff’s claim

for punitive damages, “state law is relevant to this determination insofar as it

defines the nature and extent of the right plaintiff seeks to enforce.” Broughton v.

Fla. Int’l Underwriters, Inc., 139 F.3d 861, 863 (11th Cir. 1998) (emphasis added).

Thus, in determining whether the jurisdictional level has been met, this Court can

consider recent decisions rendered in similar cases. See Henry v. Nationwide Ins.

Co., No. 06-0612-CG-M, 2007 WL 2409817, at *2 (S.D. Ala. Aug. 22, 2007)

(determining that the amount in controversy was satisfied due to the comparison of

other breach of contract and fraud cases against insurance companies alleging

punitive damages). Alabama juries have consistently awarded punitive damages



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greater than $75,000 in cases alleging bad faith claims. See, e.g., Otinger v.

Allstate Ins. Co., No. 05-574, 2011 WL 4632225 (Etowah County, Ala. May 20,

2011) (awarding $75,000 in compensatory damages and $100,000 in punitive

damages for bad faith failure to pay an insurance claim). 1

         16.      In this case, Plaintiffs seek coverage under the Policy for losses

allegedly amounting to $178,000.00. This does not even include punitive damages,

which could be up to three times the amount of compensatory damages.

         17.      Consequently, based upon the detailed allegations of Plaintiffs’

Complaint and recent jury verdicts in bad faith insurance actions, “judicial

experience and common sense” dictate that it is more likely than not that Plaintiffs’

Complaint places more than $75,000 in controversy.

    THE OTHER REMOVAL PREREQUSITES HAVE BEEN SATISFIED

         18.      Because this Notice of Removal was filed within thirty days of service

of the Complaint upon Liberty, it is timely under 28 U.S.C. § 1446(b).

         19.      Liberty has sought no similar relief with respect to this matter.

         20.      The prerequisites for removal under 28 U.S.C. § 1441 have been met.

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  State court awards for mental anguish and emotional distress for bad faith tort claims in Alabama also indicate that
the amount in controversy exceeds $75,000 when combined with Plaintiffs’ demand for insurance coverage and
punitive damages. See, e.g., Carr v. Allstate Ins. Co., No. CV-07-900601, 2007 WL 6921813 (Mobile County, Ala.
Nov. 2007) (awarding $75,000 for pain and suffering for emotional distress caused by bad faith failure to honor
provisions of motor vehicle insurance policy); Sockwell v. Nat’l Ins. Assoc., No. CV 99-90, 2001 WL 1880102
(Colbert County, Ala. Feb. 2001) (awarding $201,000 in pain and suffering for emotional distress caused by bad
faith failure to uphold provisions of motor vehicle insurance policy). Federal courts in Alabama have also awarded
significant damages for emotional distress caused by bad faith. See Preis v. Lexington Ins. Co., No. 1:06-cv-00360-
WS-C, 2007 WL 4823702 (S.D. Ala. Aug. 2007) (awarding $70,000 in damages for pain and suffering on bad faith
claim for failure to honor the provisions of a homeowner’s insurance policy).



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         21.     Written notice of the filing of this Notice of Removal will be given to

the adverse party as required by law.

         22.     A Notice of Filing Notice of Removal, with a copy of this Notice of

Removal attached, will promptly be filed with the Circuit Clerk for the Circuit

Court of Jefferson County, Alabama.

         23.     The allegations of this Notice are true and correct and this cause is

within the jurisdiction of the United States District Court for the Northern District

of Alabama, Southern Division, and this cause is removable to the United States

District Court for the Northern District of Alabama, Southern Division.

         24.     If any question arises as to the propriety of the removal of this action,

Liberty requests the opportunity to submit a brief and present oral argument in

support of its position that this case was properly removed. Sierminski v. Transouth

Fin. Corp., 216 F.3d 945, 949 (11th Cir. 2000).

                                      CONCLUSION

         For the foregoing reasons, Liberty respectfully gives notice that this action

has been removed from the Circuit Court of Jefferson County, Alabama to the

United States District Court for the Northern District of Alabama, Southern

Division, being the district and division for the county in which this action is

pending, and requests that this action proceed as properly removed to this Court.




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                                               Respectfully submitted by,

                                               /s/ Joshua R. Hess
                                                Jeffrey M. Grantham
                                                Joshua B. Baker
                                                Joshua R. Hess
                                                Attorneys for Defendant Liberty
                                                Mutual Fire Insurance Company

OF COUNSEL:

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                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing has been served upon the
following via U.S. Mail, postage pre-paid, on this the 16th day of June, 2017:


Thomas Buck
Longshore, Buck, Longshore, P.C.
2009 Second Avenue North
Birmingham, Alabama 35203
(205) 252-7661



                                                    /s/ Joshua R. Hess
                                                    OF COUNSEL




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